              Case 1:21-cv-03413-SDG Document 17 Filed 08/24/21 Page 1 of 2




                                   1:21-cv-03413-SDG
                   Securities and Exchange Commission v. Woods et al
                              Honorable Steven D. Grimberg

                   Minute Sheet for proceedings held In Open Court on 08/24/2021.


    TIME COURT COMMENCED: 2:05 P.M.
    TIME COURT CONCLUDED: 3:45 P.M.               COURT REPORTER: Alicia Bagley
    TIME IN COURT: 1:40                           DEPUTY CLERK: Alisha Holland
    OFFICE LOCATION: Atlanta

ATTORNEY(S)          David Chaiken representing Horizon Private Equity, III, LLC
PRESENT:             David Chaiken representing John J. Woods
                     Stephen Councill representing John J. Woods
                     Gerald Kline representing Livingston Group Asset Management Company
                     Joshua Mayes representing Securities and Exchange Commission
                     Harry Roback representing Securities and Exchange Commission
PROCEEDING
                     Motion Hearing(PI or TRO Hearing-Evidentiary);
CATEGORY:
MOTIONS RULED        [2]Motion for TRO GRANTED IN PART & DENIED IN PART
ON:
MINUTE TEXT:         Hearing held on Plaintiff SEC's Motion for Temporary Restraining Order
                     [ECF 2]. The Court GRANTED IN PART and DENIED IN PART the
                     SEC's motion. The motion for temporary restraining order as to
                     Defendants John J. Woods and Horizon Private Equity, III, LLC (Horizon)
                     is GRANTED. The motion for temporary restraining order as to
                     Defendant Livingston Group Asset Management Company d/b/a
                     Southport Capital (Southport) is DENIED WITHOUT PREJUDICE. The
                     Court GRANTED the appointment of a receiver as to Defendant Horizon
                     and with respect to the following assets owned by Defendant Woods:
                     Chattanooga Professional Baseball, LLC, Lakewood Ranch Risk
                     Management, LLC, and Livingston Group d/b/a Southport Capital. The
                     Court GRANTED an asset freeze as to Defendants Horizon and Woods,
                     with allowance provided for Defendant Woods to engage in routine
                     financial transactions. The Court GRANTED an accounting as to
                     Defendants Horizon and Woods. The Court GRANTED the SEC's request
           Case 1:21-cv-03413-SDG Document 17 Filed 08/24/21 Page 2 of 2

                  for expedited discovery as to all Defendants and ORDERS that all
                  Defendants are prohibited from destroying or concealing any documents
                  related to this action. Plaintiff's counsel is ordered to prepare and submit to
                  the Court, after conferring with Defendants' counsel, a proposed order by
                  close of business on August 27, 2021. The proposed order should be
                  submitted via email to Chambers.
HEARING STATUS:   Hearing Concluded
